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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as
Administrators of the Estate of Abrielle Kira

Bartels, Deceased,

VS.

Plaintiffs,

>: NO: 16-cv-2145-CCC

THE MILTON HERSHEY SCHOOL, et al.,

Defendants.

 

TO THE CLERK:

NOTICE OF APPEARANCE

Kindly enter my appearance on behalf of Non-Parties, Royer Cooper Cohen

Braunfeld LLC and Alexander J. Nassar, Esquire in the above-captioned matter.

Date: August 23, 2017

00398833.v1

ROYER COOPER COHEN BRAUNFELD LLC

BY: _/s/_ Barry L. Cohen

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Braunfeld LLC and Alexander J. Nassar, Esq.
